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1    McGREGOR W. SCOTT
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     Assistant U.S. Attorney
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4    Telephone: (916) 554-2789
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7
8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )
11                                 )           No. 2:04-cr-0378-MCE
                    Plaintiff,     )
12                                 )
               v.                  )
13                                 )           STIPULATION AND ORDER
     RAMON RAMIREZ,                )
14   OSBALDO RAMIREZ,              )
                                   )
15                  Defendants.    )
     ______________________________)
16
17         It is hereby stipulated between the parties, Plaintiff United
18   States of America, by and through United States Attorney McGregor W.
19   Scott and Assistant United States Attorney Phillip A. Talbert, and
20   Defendant Ramon Ramirez, through his attorney Jan David Karowsky,
21   and Defendant Osbaldo Ramirez, through his attorney Michael Long, as
22   follows:
23         It is agreed that the current Status Conference date of July
24   18, 2006 be vacated and a new Status Conference date of August 22,
25   2006 at 8:30 a.m. be set.
26   ///
27   ///
28   ///

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1          The continuance of the status conference is necessary because
2    the parties are in ongoing negotiations toward a possible resolution
3    of the case, and the defendants’ attorneys need time to discuss the
4    ongoing negotiations and a proposed written plea agreement with the
5    defendants.
6          Accordingly, the parties jointly request a new status
7    conference date of August 22, 2006, and that the time period from
8    July 18, 2006, to and including August 22, 2006 be excluded under
9    the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and
10   Local Code T4 for defense preparation and based on a finding by the
11   Court that the ends of justice served by granting a continuance
12   outweigh the best interest of the public and defendant in a speedy
13   trial.
14
                                                 Respectfully submitted,
15
     Dated: July 14, 2006                       /s/Jan David Karowsky
16                                             JAN DAVID KAROWSKY
                                               Attorney for Defendant
17                                             RAMON RAMIREZ
                                             By PAT per telephone authorization
18
     Dated: July 14, 2006                       /s/Michael Long
19                                             MICHAEL LONG
                                               Attorney for Defendant
20                                             OSBALDO RAMIREZ
                                             By PAT per telephone authorization
21
22                                               McGREGOR W. SCOTT
                                                 United States Attorney
23
     Dated: July 14, 2006                         /s/Phillip A. Talbert
24                                               PHILLIP A. TALBERT
                                                 Assistant U.S. Attorney
25                                               Attorney for Plaintiff
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1                                       ORDER
2    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
3    Dated: July 17, 2006
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6                                       _____________________________
                                        MORRISON C. ENGLAND, JR
7                                       UNITED STATES DISTRICT JUDGE
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